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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

KAIST IP US LLC,                              §
                                              §
       Plaintiff,                             §
                                              §
v.                                            §              No. 2:16-CV-01314-JRG-RSP
                                              §
SAMSUNG ELECTRONICS CO.,                      §
LTD. et al.,                                  §
                                              §
       Defendants.                            §

                         REPORT AND RECOMMENDATION

       This Report and Recommendation addresses two motions. First, Defendants

Globalfoundries, Inc. and Globalfoundries US Inc. (collectively, “Globalfoundries”) move

the Court to dismiss this case because of improper venue or, alternatively, transfer this case

to the Northern District of California. Globalfoundries Motion to Dismiss [Dkt. # 75]. Sec-

ond, Qualcomm moves for the same relief for the same reasons. Qualcomm’s Motion to

Dismiss [Dkt. # 97]. But because Defendants have forfeited any right to challenge venue

based on the untimeliness of their challenges, the motions should be DENIED.

I.     BACKGROUND

       KAIST filed this patent lawsuit in November 2016. Compl. [Dkt. # 1]. In March

2017, Defendants answered, denied that venue is proper in this District, and “reserved” a

right to challenge venue following the Supreme Court’s then-forthcoming decision in TC

Heartland. Globalfoundries’s Answer, Affirmative Defenses & Counterclaims to Pl.’s



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Compl. [Dkt. # 27] ¶ 16; Qualcomm Inc.’s Answer, Affirmative Defenses & Counterclaims

to Pl.’s Compl. [Dkt. # 29] ¶ 16.

         The Supreme Court decided TC Heartland in May 2017. Globalfoundries filed its

motion to dismiss in mid-September, and Qualcomm filed its motion near the end of Octo-

ber. Other than the present motions, Defendants took no action before the Court relating to

venue.

II.      APPLICABLE LAW

         A defendant may waive the defense of improper venue under three circumstances.

First, a defendant may waive the defense by failing to move under Rule 12. Fed. R. Civ. P.

12(h)(1)(B)(i). Second, the defendant may waive the defense by failing to object “in a

responsive pleading or in an amendment allowed by Rule 15(a)(1) as a matter of course.”

Fed. R. Civ. P. 12(h)(1)(B)(ii). Finally, the defendant may waive the defense by moving

under Rule 12 for reasons other than venue without also objecting to venue. Fed. R. Civ.

P. 12(h)(1)(A); Fed. R. Civ. P. 12(g)(2). To summarize the waiver rule stemming from

these circumstances, a party must raise an adequate venue defense during its first defensive

move. Golden v. Cox Furniture Mfg. Co., 683 F. 2d 115, 118 (5th Cir. 1982).

         The rules, however, only establish the minimum steps a party must take to preserve

an improper-venue defense. A defendant may also waive the defense by litigating a case

without actually contesting venue. See generally, e.g., Navico, Inc. v. Garmin Int’l, Inc.,

No. 2:16-CV-00190, 2017 WL 2957882 (E.D. Tex. July 11, 2017); Infogation Corp. v.

HTC Corp., No. 16-CV-01902-H-JLB, 2017 WL 2869717 (S.D. Cal. July 5, 2017); Amax,




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Inc. v. ACCO Brands Corp., No. 16-10695-NMG, 2017 WL 2818986 (D. Mass. June 29,

2017); Restoration Hardware, Inc. v. Haynes Furniture Co., No. 16 C 10665, 2017 WL

2152438 (N.D. Ill. May 17, 2017). Thus, noting an initial venue objection, without more

action, does not necessarily preclude subsequent waiver of the objection. See In re Micron

Tech., Inc., 875 F.3d 1091, 1101 (Fed. Cir. 2017) (citing cases).

       Although this Court previously denied venue challenges when, as here, a defendant

attempted to reserve a right to challenge venue pending the outcome of TC Heartland, the

Federal Circuit has since decided a challenge based on the interpretation of § 1400(b) in

Fourco Glass Co. v. Transmirra Prod. Corp., 353 U.S. 222, 229 (1957) was not sufficiently

“available” to expect defendants to assert such a challenge. In re Micron Tech., Inc., 875

F.3d at 1096. Importantly, however, the Federal Circuit affirmed that district courts have

inherent power to find a venue objection forfeited based on conduct or other circumstances.

Id. at 1102 (“[W]e think it clear that, apart from Rule 12(g)(2) and (h)(1)(A), district courts

have authority to find forfeiture of a venue objection.”). Moreover, a court’s forfeiture in-

quiry is not confined to the moment when a new defense becomes available. Id. at 1101–

02 (“[W]hereas the waiver rule of Rule 12(g)(2) and (h)(1)(A) requires a focus on the time

the TC Heartland venue objection was ‘available’ for the district court to adopt (i.e., on or

after May 22, 2017), the non-Rule authority’s general concern with timeliness is not nec-

essarily so limited.”). Still, the Federal Circuit has suggested the proper inquiry should start

by considering the “time from when the defense becomes available to when it is asserted,




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including factors such as how near is the trial, which may implicate efficiency or other

interests of the judicial system and of the other participants in the case.” Id. at 1102.

III.   DISCUSSION

       Applying these legal principles here, the Court concludes Defendants have waived

their venue because of their untimely challenges combined with the inefficiencies a transfer

would cause on the judicial system. Even after the Supreme Court’s decision in TC Heart-

land, Globalfoundries waited nearly four months before raising the issue with the Court,

and Qualcomm waited over five months. Given the allotted time for full motion briefing,

the earliest the Court would decide the motions was mid-October and late November, re-

spectively. But by then, the parties were to have been immersed in claim construction dis-

covery, have exchanged proposed claim terms and preliminary constructions, and proffered

a joint claim construction statement. Dkt. Control Order [Dkt. # 46] (setting August 16 as

the deadline to exchanged proposed claim terms needing construction, September 6 as the

deadline to exchange preliminary claim constructions, October 25 as the deadline for

claim-construction discovery, and November 8 as the deadline for KAIST’s filing of its

opening claim construction brief).

       Defendants blame their delay on KAIST. The parties, say Defendants, conferred

about venue for weeks, and KAIST continued to proffer various venue alternatives for De-

fendants’ consideration. Globalfoundries’s Reply [Dkt. # 82] at 2–3; Qualcomm’s Reply

[Dkt. # 110] at 2 (“Only after lengthy negotiations did it become clear that KAIST IP did

not have a legitimate, good faith interest in an agreed transfer to a proper venue and was




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merely delaying this motion.”); see also Globalfoundries’s Motion [Dkt. # 75] at 9 (noting

“counsel for Globalfoundries . . . met and conferred telephonically and through email with

counsel for the Plaintiff on June 14, June 20, June 21, June 22, June 26, June 27, July 31,

August 2, August 3, August 4, August 9, August 10, August 11, and August 15, 2017 in a

good faith attempt to resolve the matters raised by this motion”); Qualcomm’s Motion [Dkt.

# 97] at 9 (noting that “counsel for Qualcomm Inc[.] met and conferred telephonically and

through email with counsel for the Plaintiff on June 14, June 20, June 21, June 22, June 26,

June 27, October 17, and October 27, 2017 in a good faith attempt to resolve the matters

raised by this motion”).

       This argument is not persuasive. Regardless of any venue-related conversations be-

tween the parties, Defendants (not KAIST) chose to wait months before raising the issue

with the Court. And given the similarity of the motions and Defendants’ common counsel,

the Court is particularly perplexed as to why Qualcomm waited six weeks longer than

Globalfoundries to file its motion. Defendants could have filed their motions first and then

discussed transfer to a mutually agreeable venue. Alternatively, Defendants could have

filed their motions when it became clear the issues would not be promptly resolved and

then continued discussions with KAIST.

       But Defendants chose otherwise, and their attempt to blame KAIST for that choice

is misplaced. While the Court commends Defendants’ efforts to resolve the venue issue

without court-intervention, a four- and five-month delay in filing their motions is unrea-

sonable when the relief sought will then disrupt the efficiency of the judicial system.




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Accordingly, Defendants’ motions should be DENIED.

IV.   RECOMMENDATION

      In re Micron affirms a district court’s ability to find forfeiture when a party does not

interpose timely objection to the venue. Here, even after TC Heartland, Defendants waited

four and five months to raise their venue challenges with the Court, at a time when the

Court and the parties were investing great effort in the proceedings. Granting such

untimely motions at this stage of the proceeding would disrupt the efficiency of the

judicial process, both here and in the proposed transferee district. Accordingly, both

Globalfoundries’s Mo-tion to Dismiss [Dkt. # 75] and Qualcomm’s Motion to

Dismiss
 .      [Dkt. # 97] should be DENIED.

       A party’s failure to file written objections to the findings, conclusions, and recom-

mendations contained in this report within 14 days after being served with a copy bars that

party from de novo review by the district judge of those findings, conclusions, and recom-

mendations and, except on grounds of plain error, from appellate review of unobjected-to

factual findings and legal conclusions accepted and adopted by the district court. Fed. R.

Civ. P. 72(b)(2); see Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415, 1430 (5th Cir.

1996) (en banc).
         SIGNED this 3rd day of January, 2012.
        SIGNED this 18th day of December, 2017.




                                                   ____________________________________
                                                   ROY S. PAYNE
                                                   UNITED STATES MAGISTRATE JUDGE




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